                         IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,                     :       CASE NO: 1:18CR464
                                              :
       Plaintiff,                             :
                                              :       JUDGE JAMES S. GWIN
vs.                                           :
                                              :
CESAR VELOZ-ALONSO,                           :       NOTICE OF INTENT TO
                                              :       PLEAD GUILTY AND
       Defendant.                             :       REQUEST FOR A DETENTION
                                              :       HEARING
                                              :


       The Defendant, Cesar Veloz-Alonso, hereby gives notice to the Court and the Government

that he intends to plead Guilty on the date of his Pretrial conference currently scheduled for October

2, 2018, at 12:30 a.m.

       Defendant also requests a Detention Hearing at that time pursuant to 18 USC 3142 et.al., as

Mr. Veloz-Alonso’s circumstances have changed and a bond is now appropriate sub judice.

Although an “ICE Detainer” exists in this case, this Court has the authority to grant bond and the

Executive Branch may not abrogate this authority by way of its own warrant or detainer.

       Finally, in consideration of his Motion for Bond, this Court should consider the attached

Exhibit.

                                              Respectfully submitted,

                                              STEPHEN C. NEWMAN
                                              Federal Public Defender
                                              Ohio Bar No.: 0051928
                                                /s/ Carlos Warner
                                                CARLOS WARNER
                                                Assistant Federal Public Defender
                                                Ohio Bar No.: 0068736
                                                Akron Centre Plaza
                                                50 S. Main St., Suite 700
                                                Akron, OH 44308
                                                Phone: (330) 375-5739 Fax: (330) 375-5738
                                                E-Mail: carlos_warner@fd.org




                                    CERTIFICATE OF SERVICE

        I hereby certify that on October 1, 2018 a copy of the foregoing Notice of Intent to Plead

Guilty was filed electronically. Notice of this filing will be sent by operation of the Court’s

electronic filing system to all parties indicated on the electronic filing receipt. All other parties will

be served by regular U.S. Mail. Parties may access this filing through the Court’s system.




                                               /s/ Carlos Warner
                                               CARLOS WARNER
                                               Assistant Federal Public
